                             Case 2:18-cv-02206-GEKP Document 1 Filed 05/25/18 Page 1 of 19
JS 44 (Rev. 06/17)                                                              CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
 Hylton                                                                                                             AmeriFinancial Solutions, LLC, et al.

    (b) County of Residence of First Listed Plaintiff                 Philadelphia, PA                                County of Residence of First Listed Defendant                  Baltimore, MD
                                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (JN U.S. PLAINTIFF CASES ONLY)
                                                                                                                      NOTE:      1N LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED.

   ( C) Attorneys (Firm Name, Address, and Telephone Number)                                                           Attorneys (If Knawn)
 Kalil<hman & Rayz, LLC
 1051 County Line Road Suite A Huntingdon Valley, PA 19006
 (215) 364-5030

II. BASIS OF JURISDICTION (Placean ''X"inOneBoxOnlyJ                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                         "X" in One Box for Plaintiff
                                                                                                                 (For Diversity Cases Only)                                           and One Box for Defendant)
0 1 U.S. Government                      ~3     Federal Question                                                                          PTF          DEF                                            PTF       DEF
       Plaintiff                                  (US. Government Not a Party)                              Citizen of This State         0 1          0 1       Incorporated or Principal Place       0 4      04
                                                                                                                                                                   ofBusiness In This State

02      U.S. Government                  04     Diversity                                                   Citizen of Another State         0 2       0     2   Incorporated and Principal Place          0 5       0 5
           Defendant                              (Indicate Citizenship ofParties in Item Ill}                                                                      of Business In Another State

                                                                                                                                             0 3       0     3   Foreign Nation                            0 6       0 6

IV. NATURE OF SUIT (Place an ''X" in One Box Only)                                                                                                      Click here for: Nature of Suit Code Descriptions.
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1• "'•·· •.;:..CON'fRAct•fe'.                                                                               •   lfOnFJ!:fF•.•K•:1...JtNArTY> z. ,          .~.~~·KlJl'TCY•i    .......... <··.::-wTHEa.:sTA'Etrl'li:S::t t .fl
0   110 Insurance                              PERSONAL INJURY               PERSONAL INJURY               0 625 Drug Related Seizure              0 422 Appeal 28 USC 158                 0 375 False Claims Act
0   120Marine                           0 310Aixplane                      0 365 Personal Injury -               ofProperty21USC881                0 423 Withdrawal                        0 376 Qui Tam(31 USC
0   130 Miller Act                      0 315 Airplane Product                   Product Liability         0 690 Other                                   28 USC 157                                 3729(a))
0   140 Negotiable Instrument                       Liability              0 367 Health Care/                                                                                              0 400 State Reapportionment
0   150 Recovery of Overpayment         0 320 Assault, Libel &                   Pharmaceutical                                                   •g. PROlll!;l{'l\\'lfRlGHTS••K•>\Y" 0 410 Antitrust
        & Enforcement of Judgment                   Slander                      Personal Injury                                                  0 820 Copyrights                         0 430 Banks and Baokiog
 0  151 Medicare Act                    0 330 Federal Employers'                 Product Liability                                                0 830 Patent                             0 450 Commerce
 0  152 Recovery of Defaulted                       Liability              0 368 Asbestos Personal                                                0 835 Patent- Abbreviated                0 460 Deportation
        Student Loaus                   0 340 Marioe                              Injury Product                                                          New Drug Application             0 470 Racketeer Influenced and
        (Excludes Veteraus)             0 345 Marioe Product                     Liability                                                        0 840 Trademark                                  Corrupt Organizations
 0  153 Recovery of Overpayment                     Liability               PERSONAL PROPERTY        : c:;•\t \1\\':+1:LABOR>:. ;J.:;:·•· ••· .,. TdSOGIAL'SEl:U                           tJ: 480 Consumer Credit
        of Veteran's Benefits           0 350 Motor Vehicle                0 370 Other Fraud         0 710 Fair Labor Standards                   0 861 HIA (1395ff)                       0 490 Cable/Sat TV
 0  160 Stockholders' Suits             0 355 Motor Vehicle                0 371 Truth in Lendiog               Act                               0 862 Black Luog (923)                   0 850 Securities/Co=odities/
 0  190 Other Contract                             Product Liability       0 380 Other Personal      0 720 Labor/Management                       0 863 DIWC/DIWW (405(g))                         Exchange
 0  195 Contract Product Liability      0 360 Other Personal                     Property Damage                Relations                         0 864 SSID Title XVI                     0 890 Other Statutory Actious
 0  196 Franchise                                  Injury                  0 385 Property Damage     0 740 Railway Labor Act                      0 865 RSI (405(g))                       0 891 Agricultural Acts
                                        0 362Personal!njury-                     ProductLiability    0 751FamilyandMedical                                                                 0 893Environmenta1Matters
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I'<:.•;; ;;Rl!;A:LJ?ROPER'l'Ytl! %}i, :: ;ft'l'.1'GtVIVRIGH'l'S ~t• :w'   ':iPIDSONERPETITIOl'!IS1•, 0 790 Other Labor Litigation                 Ai:J:tl!Jl)ltRAI./t..AXSUl'l.iS '. · ;:.         Act
 0 210 Land Condenmation                0 440 Other Civil Rights               Habeas Corpus:        0 791 Employee Retirement                    0 870 Taxes (U.S. Plaintiff              0 896 Arbitration
 0 220 Foreclosure                      0 441 Votiog                       0 463 Alien Detainee                Income Security Act                         or Defendant)                   0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment           0 442 Employment                   0 510 Motions to Vacate                                                0 871 IRS-Third Party                            Act/Review or Appeal of
 0 240 Torts to Land                    0 443 Housing/                            Sentence                                                                 26 USC 7609                            ·Agency Decision
 0 245 Tort Product Liability                      Accommodations          0 530 General                                                                                                   0 950 Constitutionality of
 0 290 All Other Real Property          0 445 Amer. w/Disabilities -       0 535 Death Penalty       1~\'9 +11 ilMMI@A11I.ONifi#1fi:O~I                                                            State Statutes
                                                   Employment                  Other:                0 462 Naturalization Application
                                        0 446 Amer. w/Disabilities -       0 540 Mandamus & Other    0 465 Other Immigration
                                                   Other                   0 550 Civil Rights                  Actions
                                        0 448 Education                    0 555 Prison Condition
                                                                           0 560 Civil Detaioee -
                                                                                  Conditions of
                                                                                  Confinemeot
V. ORIGIN (Placean              "X"inOneBoxOnly)
0 1 Original               0 2 Removed from                  0    3       Remanded from             0 4 Reinstated or           0 5 Transferred from             0 6 Multidistrict               0 8 Multidistrict
    Proceeding                 State Court                                Appellate Court                  Reopened                    Another District                 Litigation -                   Litigation -
                                                                                                                                       (specifY)                        Transfer                       Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Fair Debt Collection Practices Act 15 U.S.C.                                                      1692 etse
                                            Brief description of cause:
                                             Violation of federal consumer rotection statute
VII. REQUESTED IN     i}l CHECK IF THIS IS A CLASS ACTION                                                                                                    CHECK YES only if demanded in complaint:
     COMPLAINT:            UNDER RULE 23, F.R.Cv.P.                                                                                                          JURY DEMAND:                  ~Yes            ONo
VIII. RELATED CASE(S)
                         (See instructions):
      IF ANY                                 JUDGE                                                                                                   DOCKET NUMBER




    RECEIPT#                       AMOUNT                                         APPL YING IFP                                     JUDGE                               MAG.JUDGE
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                                                             UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA- DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.                                                               ·

AddressofPlaintiff:      c/o Kalikhman & Rayz, LLC 1051 County Line Rd., Suite "A" Huntingdon Valley,                                                                     PA

AddressofDefendant: P.O.           Box 65018 Baltimore, MD 21264-5018

Place of Accident, Incident or Transaction: Phi 1ade1 phi a County
                                           ------"--------"-------------------------------~
                                                             (Use Reverse Side For Additional Space)

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                    YesD       Nol[]


Does this case involve multidistrict litigation possibilities?                                                                   YesD       NolZI
RELATED CASE, IF ANY:
Case Number: _ _ _ _ _ _ _ _ _ _ _ Judge _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date Terminated: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                               YesD NoD
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court?
                                                                                                                               YesD NoD
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
     terminated action in this court?                                                                                            Yes D       No D

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                 YesD         NoD

CNIL: (Place Vin ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                B. Diversity Jurisdiction Cases:
1. D Indemnity Contract, Marine Contract, and All Other Contracts                                        1. D Insurance Contract and Other Contracts
2. D FELA                                                                                                2. D Airplane Personal Injury
3. D Jones Act-Personal Injury                                                                           3. D Assault, Defamation
4. D Antitrust                                                                                           4. D Marine Personal Injury
5. D Patent                                                                                              5. D Motor Vehicle Personal Injury
6. D Labor-Management Relations                                                                                                 6. D Other Personal Injury (Please
                                                                                                                                specify)
7.    D Civil Rights                                                                                     7. D Products Liability
 8. D Habeas Corpus                                                                                      8. D Products Liability-Asbestos
9. D Securities Act(s) Cases                                                                             9. D All other Diversity Cases
10. D Social Security Review Cases                                                                                                        (Please specify)

11. IX! All other Federal Question Cases
          (Pleasespecify)    15 U.S.C. § 1692
                                                                                                  IFICATION
         Arkady "Eric" Rayz, Esq.
~-----------------~
  lRI Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the bes                   e and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
  lRI Relief other than monetary damages is sought.

DATE:        5/22/2018                                                                                                                     87976
                                                                                                                                   Attorney I.D.#
                                                                                          y ifthere has been compliance with F.R.C.P. 38.


I certify that, to my knowledge, the within case is not relate                    w pending or within one year previously terminated action in this court
except as noted above.

DATE:        5/22/2018                                                                                                                     87976
                                                            Attorney-at-Law                                                          Attorney l.D.#
CN. 609 (6/08)
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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                           CASE MANAGEMENT TRACK DESIGNATION FORM
Hylton
                                                                                CIVIL ACTION

                            v.
AmeriFinancial Solutions, LLC, et al.
                                                                                NO.

   In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
   plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
   filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
   side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
   designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
   the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
   to which that defendant believes the case should be assigned.

   SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

   (a) Habeas Corpus - Cases brought under28 U.S.C. § 2241 through§ 2255.                              ( )

   (b) Social Security - Cases requesting review of a decision of the Secretary of Health
       and Human Services denying plaintiff Social Security Benefits.                                  ( )

   (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

   (d) Asbestos - Cases involving clall:ns for personal injury or property damage from
       exposure to asbestos.                                                                           ( )

   (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
       commonly referred to as complex and that need special or intense management by
       the court. (See reverse side of this form for a de ·   xplanation of special
       management cases.)                                      ·                                       (x)

   (f) Standard Management- Cases that do ot fall· o any one of the other tracks.                      ( )



            5/22/2018                                                      Plaintiff
   Date                                                                     Attorney for

      (215)     364-5030             (215)   364-5029                     erayz@kalraylaw.com

   Telephone                           FAX Number                           E-Mail Address



   (Civ. 660) 10/02
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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IONIE HYLTON, on behalf of herself and all
others similarly situated,

                  Plaintiff(s)

        v.                                            Civil Action No.

AMERIFINANCIAL SOLUTIONS, LLC                         Jury Trial Demanded
d/b/a AFS; AFS; and DOES 1 through 10,
inclusive,

                  Defendant(s)


        Ionie Hylton (“Plaintiff”), on behalf of herself and all others similarly situated, alleges as

follows:

                                    I.      INTRODUCTION

        1.      This is an action for damages brought by a consumer pursuant to the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

        2.      In effectuating the FDCPA, Congress sought to limit the tactics a debt collector

could use. Despite these plain truths, Defendant (defined herein) used inappropriate tactics to

collect Plaintiff’s debt.

        3.      Upon information and belief, Defendant used these very same tactics across the

Commonwealth of Pennsylvania against hundreds, if not thousands, of individuals who, fall

within the ambit of the protections of the FDCPA.

        4.      Absent this action, Defendant’s inappropriate tactics would continue unabated.

        5.      Indeed, as set forth below in detail, Defendant has continued its illegal tactics

despite a recent court order, asserting that Defendant’s actions violate the FDCPA.




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                                    II.     THE PARTIES

       6.      Plaintiff is an adult individual, who is currently a resident of the Commonwealth

of Pennsylvania.

       7.      Plaintiff is a “consumer,” as that term is defined and/or contemplated within the

scope of FDCPA.

       8.      Defendant AmeriFinancial Solutions, LLC d/b/a AFS is a commercial entity that

regularly conducts business in the Eastern District of Pennsylvania, is engaged in the business of

debt collection within the Commonwealth of Pennsylvania, and may be served at P.O. Box

65018 Baltimore, MD 21264-5018.

       9.      Indeed, on its own website, Defendant describes itself as follows:




See http://www.amerifinsol.com/, last visited on May 22, 2018.

       10.     Defendant AFS is a commercial enterprise engaged in the business of debt



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collection within the Commonwealth of Pennsylvania and/or is a fictitious name utilized by

Defendant AmeriFinancial Solutions, LLC in the business of debt collection within the

Commonwealth of Pennsylvania, and may be served at P.O. Box 65018 Baltimore, MD 21264-

5018.

        11.     Plaintiff is unaware of the names and capacities of those defendants sued as

DOES 1 through 10, but will seek leave to amend this complaint once their identities become

known to Plaintiff. Upon information and belief, Plaintiff alleges that at all relevant times each

defendant, including the DOE defendants 1 through 10, was the officer, director, employee,

agent, representative, alter ego, or co-conspirator of each of the other defendants, and in

engaging in the conduct alleged herein was in the course and scope of and in furtherance of such

relationship.

        12.     Unless otherwise specified, Plaintiff will refer to all defendants collectively as

“Defendant” and each allegation pertains to each Defendant.

        13.     Defendant is a “debt collector,” as that term is defined and/or contemplated within

the scope of FDCPA.

        14.     Defendant uses instrumentalities of interstate commerce and mail in a business,

whose principal purpose is collection of debts and/or regularly collects (or attempts to collect),

directly or indirectly, debts owed or due or asserted to be owed or due another.

        15.     At all times material hereto, Defendant acted and/or failed to act in person and/or

through duly authorized agents, servants, workmen, and/or employees, acting within the scope

and course of their authority and/or employment for and/or on behalf of Defendant.

                             III.   JURISDICTION AND VENUE

        16.     This Honorable Court has jurisdiction pursuant to 15 U.S.C. § 1692k and 28




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U.S.C. § 1337.

       17.       The Eastern District of Pennsylvania is the proper venue for this litigation,

because:

                 a.     Plaintiff resides in the City of Philadelphia, which is in the territory of the

                        Eastern District of Pennsylvania;

                 b.     Defendant’s wrongful conduct was directed to and was undertaken within

                        the territory of the Eastern District of Pennsylvania; and

                 c.     Defendant conducts a substantial portion of its business in the Eastern

                        District of Pennsylvania.

                               IV.     STATEMENT OF CLAIMS

                                      A.     BACKGROUND

       18.       On August 23, 2017, Plaintiff was involved in a motor vehicle accident that

caused Plaintiff to suffer from various physical injuries.

       19.       Although Plaintiff’s injuries were not life-threatening, immediately after the

accident, Plaintiff went to Chestnut Hill Hospital (“Provider”) for evaluation and medical

treatment.

       20.       At the time of the accident, Plaintiff was covered by an automobile liability

insurance policy, issued in the Commonwealth of Pennsylvania.

       21.       All automobile liability insurance policies in the Commonwealth of Pennsylvania

include medical benefit coverage. See 75 Pa.C.S. §§ 1702, 7111.

       22.       On or about May 10, 2018, Defendant sent a letter to Plaintiff, written on behalf

of the Provider, regarding Plaintiff’s alleged obligation to pay the Provider for the above-

referenced evaluation and treatment (“Demand Letter”).            A true and correct copy of this




                                                    4
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document (redacted for purposes of privacy) is marked and attached hereto as Exhibit “A.”

       23.     At the time of Defendant’s correspondence, the alleged obligation was in default.

       24.     Defendant’s correspondence explicitly identifies $654.00 as the “Amount Due.”

See Exhibit “A.”

       25.     Accordingly, Defendant’s correspondence explicitly stated and/or otherwise

implied that Plaintiff owed the “Amount Due” and that Defendant was entitled to collect that

amount from Plaintiff. See Exhibit “A.”

       26.     Indeed, by sending the Demand Letter, Defendant sought to collect the “Amount

Due” from Plaintiff.

       27.     With respect to automobile insurance policies issued in the Commonwealth of

Pennsylvania, the extent of liability for the cost of treatment received for an injury incurred in a

motor vehicle accident is limited by the cost containment provisions of the Motor Vehicle

Financial Responsibility Law (“MVFRL”), 75 Pa.C.S. § 1701 et seq.

       28.     The specific provision of the MVFRL, in relevant part, declares:

               [a] person or institution providing treatment, accommodations,
               products or services to an injured person for an injury covered by
               liability or uninsured and underinsured benefits or first party
               medical benefits . . . shall not require, request or accept
               payment for the treatment, accommodation, products or services
               in excess of 110% of the prevailing charge at the 75th percentile;
               110% of the applicable fee schedule, the recommended fee or the
               inflation index charge; or 110% of the diagnostic-related groups
               (DRG) payment; whichever pertains to the specialty service
               involved, determined to be applicable in this Commonwealth under
               the Medicare program for comparable services at the time the
               services were rendered, or the provider’s usual and customary
               charge, whichever is less.

75 Pa.C.S. § 1797(a)(emphasis supplied).

       29.     This cost containment provision, commonly known as the “Act 6 Reduction,” has




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been interpreted to mean that, “if Medicare makes any payment for a particular service, then

reimbursement for purposes of automobile insurance will be limited to 110% of that amount.”

Hospital Association of Pennsylvania, Inc. v. Foster, 629 A.2d 1055, 1057-8 (Pa. Cmwlth.

1993); see also Pittsburgh Neurosurgery Associates, Inc. v. Danner, 733 A.2d 1279 (Pa. Super.

1999).

         30.   Here, the alleged “Amount Due” that Defendant sought to collect – $654.00 – is

the total outstanding balance claimed by the Provider, without application of the Act 6

Reduction.

         31.   In fact, neither the Provider nor the Defendant even attempted to re-calculate the

“Amount Due” to determine what the Provider may ask for, much less is entitled to receive,

under the MVFRL.

         32.   Indeed, the actual amount that the Provider is entitled to under the MVFRL is

significantly less than the “Amount Due” stated in Defendant’s correspondence.

         33.   As the Demand Letter demonstrates, Defendant was clearly acting on the

Provider’s behalf.

         34.   The MVRFL explicitly forbids Provider and, correspondingly, anyone acting on

Provider’s behalf, to “require, request or accept payment” of more than the statute allows. 75

Pa.C.S. § 1797(a).

         35.   Section 1692f(1) of the FDCPA specifically prohibits “[t]he collection of any

amount (including any interest, fee, charge, or expense incidental to the principal obligation)

unless such amount is expressly authorized by the agreement creating the debt or permitted by

law.” 15 U.S.C. § 1692f(1).

         36.   As described herein, Defendant’s actions violated the applicable provisions of the




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FDCPA, in that, Defendant explicitly claimed that Plaintiff owed an amount that was in excess

of what its client – the Provider – was permitted by law to collect (or even ask for) under the

MVFRL.

       37.     Moreover, it is believed and, therefore, averred that Defendant has no procedures

to avoid collecting more than what is permitted under the MVFRL.

       38.     Accordingly, Defendant systematically and as a matter of practice, ignores the

MVFRL and its Act 6 Reduction.

       39.     Further, upon information and belief, Defendant did nothing to investigate the

entities or persons that hired, retained, or engaged Defendant to collect the alleged debt at issue

in Plaintiff’s Complaint, before first contacting Plaintiff.

       40.     Additionally, upon information and belief, Defendant has never made any inquiry

or otherwise investigate the legitimacy or accuracy of Plaintiff’s alleged debt, before first

contacting Plaintiff.

       41.     Defendant, therefore, could not have reasonably relied upon the information

provided to Defendant about the alleged debt at issue in Plaintiff’s Complaint.

       42.     Moreover, Defendant’s reliance on the information provided by the Provider was

not reasonable or justified, as even a cursory review of Plaintiff’s alleged obligation would have

revealed that: (a) Plaintiff was covered by an automobile liability insurance policy issued in

Pennsylvania; (b) the “Amount Due” that Defendant was being asked to collect is the total

outstanding balance claimed by the Provider, without application of the Act 6 Reduction; and (c)

Defendant was attempting to collect from Plaintiff more than what is allowed under

Pennsylvania law.

       43.     Indeed, it appears that Defendant has deliberately ignored and/or willfully




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avoided any investigation or inquiry of the underlying debt, as well as the entities or persons that

hired, retained, or engaged Defendant to collect it.

       44.     In fact, Defendant regularly sends letters to individuals, who are covered by an

automobile liability insurance policy issued in Pennsylvania, that seek payment of a balance

without the Act 6 Reduction being applied.

       45.     Upon information and belief, Defendant has no procedures in place that are

designed to avoid collecting more than what is permitted under the MVFRL.

       46.     Further, upon information and belief, Defendant has never attempted to apply the

Act 6 Reduction to any balances it has sought to collect.

       47.     Defendant’s conduct, as alleged herein, is (and was) deliberate, intentional,

reckless, willful, and wanton.

       48.     Defendant’s conduct, as alleged herein, is unfair, misleading, deceptive, and

unconscionable.

       49.     Plaintiff and the members of the Class have been (and will continue to be)

financially damaged due to Defendant’s conduct, as set forth herein.

       50.     Plaintiff and the members of the Class have suffered and will continue to suffer

actual damages due to Defendants’ conduct, as set forth herein.

       51.     As such, Plaintiff avers that Defendant’s conduct, as described herein, was not

limited to the circumstances described herein, but was, and is, habitual, systematic, ongoing, and

unrelenting in Defendant’s business model and practice.

       52.     Plaintiff avers that the purpose of Defendant’s behavior described herein (as well

as their day-to-day business operation), is to deceive unsuspecting consumers, wherever and

whenever possible, to achieve, inter alia, the objectives of obtaining additional revenue and




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profit for Defendant’s business enterprise.

       53.     Plaintiff avers that Defendant has utilized various methods calculated to confuse,

mislead, distract, coerce, and convert consumers’ funds for Defendant’s benefit, by employing

unethical business practices to secure pure financial gain and unjust financial enrichment.

       54.     Plaintiff further states that Defendant’s practices continue unabated, and will

continue well beyond the end of this case, for which Defendants have and/or will reap hundreds

of thousands of dollars in unearned ill-gotten gains from unsuspecting consumers.

       55.     Irrespective of Plaintiff’s and the Class members’ actions, the aforementioned

correspondence sent by Defendant to Plaintiff and members of the Class was false, misleading,

and, at a minimum, in violation of the FDCPA.

                              CLASS ACTION ALLEGATIONS

       56.     Plaintiff brings this action on behalf of herself and a class of similarly-situated

individuals pursuant to Fed. R. Civ. P. 23.

       57.     Plaintiff brings this action as a class action for Defendant’s violations of the

FDCPA on behalf of the following class of individuals: All natural persons, who were sent a

letter, substantially in the form represented by Exhibit “A” (the “Class”), concerning a debt for

medical treatment or evaluation that were incurred following a motor vehicle accident, where no

Act 6 Reduction was applied, during the statutory period covered by this Complaint.

       58.     The number of individuals in the Class is so numerous that joinder of all members

is impracticable. The exact number of members of the Class can be determined by reviewing

Defendant’s records. Plaintiff is informed and believes and thereon alleges that there are over a

hundred individuals in the defined Class.

       59.     Plaintiff will fairly and adequately protect the interests of the Class and have




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retained counsel that is experienced and competent in class action and FDCPA litigation. See,

e.g., Magness v. Bank of America, N.A., et al., Docket No. 12-cv-6586 (Davis, J.)(final approval

granted); Volyansky v. Hayt, Hayt & Landau, LLC, Docket No. 2:13-cv-03360 (McHugh,

J.)(final approval granted); Ebner v. United Recovery Systems, LP, et al., Docket No. 14-cv-

06881 (Beetlestone, J.)(final approval granted).

         60.   Plaintiff has no interests that are contrary to, or in conflict with, members of the

Class.

         61.   A class action suit, such as the instant one, is superior to other available means for

fair and efficient adjudication of this lawsuit. The damages suffered by individual members of

the Class may be relatively small when compared to the expense and burden of litigation, making

it virtually impossible for members of the Class to individually seek redress for the wrongs done

to them.

         62.   A class action is, therefore, superior to other available methods for the fair and

efficient adjudication of the controversy. Absent these actions, members of the Class likely will

not obtain redress of their injuries, and Defendant will retain the proceeds of its violations of the

FDCPA.

         63.   Furthermore, even if any member of the Class could afford individual litigation

against Defendant, it would be unduly burdensome to the judicial system. Concentrating this

litigation in one forum will promote judicial economy and parity among the claims of individual

members of the Class and provide for judicial consistency.

         64.   There is a well-defined community of interest in the questions of law and fact

affecting the Class as a whole. The questions of law and fact common to each of the Class

predominate over any questions affecting solely individual members of the action. Among the




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common questions of law and fact are:

                a.      Whether Defendant is a “debt collector,” as that term is defined under the

                        FDCPA;

                b.      Whether Defendant’s correspondence is a “communication” as that term is

                        defined under the FDCPA;

                c.      Whether Defendant’s correspondence is an attempt to collect a debt;

                d.      Whether Defendant’s correspondence violated the FDCPA; and

                e.      Whether Plaintiff and the members of the Class have sustained damages

                        and, if so, the proper measure of damages.

        65.     Plaintiffs’ claims are typical of the claims of members of the Class.

        66.     Plaintiff and members of the Class have sustained damages arising out the same

wrongful and uniform practices of Defendant.

        67.     Plaintiff knows of no difficulty that will be encountered in the management of this

litigation that would preclude its continued maintenance.

                                             COUNT I
                                              FDCPA
                                       (On Behalf of the Class)

        68.     Plaintiff hereby incorporates all facts and allegations of this document by

reference, as if fully set forth at length herein.

        69.     Defendant is a “debt collector” as that term is defined under the FDCPA.

        70.     An attempt to collect upon a debt incurred during the course of personal medical

treatment falls within the scope of the FDCPA. See Pipiles v. Credit Bureau, Inc., 886 F.2d 22

(2nd Cir. 1989); Adams v. Law Offices of Stuckert & Yates, 926 F.Supp 521 (E.D.Pa. 1996).

        71.     As described herein, the actions of Defendant violate state law and, thus, the




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applicable provisions of the FDCPA. See Kojetin v. CU Recovery, Inc., 212 F.3d 1318 (8th Cir.

2000)(finding that a percentage-based collection fee violated the FDCPA when state law

prohibited such a fee); Fox v. Citicorp Credit Services, Inc., 15 F.3d 1507 (9th Cir. 1994)(finding

that a violation of state garnishment procedures was a violation of FDCPA); Flores v. Quick

Collect, Inc., 2007 WL 433239 (D.Or. 2007)(finding that the use of illegal or improper state

summons may constitute an “unfair or unconscionable means” to collect the debt under 15

U.S.C. § 1692f); Mejia v. Marauder Corp., 2007 WL 806486 (N.D.Cal. 2007)(holding that

addition of extra interest to the underlying balance, which was above the state law limitation,

was a violation of the FDCPA); Van Westrienen v. Americontinental Collection Corp., 94

F.Supp.2d 1087 (D.Or. 2000)(finding that a consumer established a violation of FDCPA where

the debt collector threatened seizure or garnishment within five days of notice to consumer,

contrary to a state-mandated waiting period).

       72.     Further, courts have also held that the FDCPA is violated when a defendant

mischaracterizes the debt owed. See, e.g., Stanley v. Stupar, Schuster & Cooper, S.C., 136 F.

Supp. 2d 957 (E.D. Wis. 2001)(holding that a collector’s description of the amount of the debt as

“$987.71, plus attorneys’ fees” at the time when no attorneys’ fees were owed violated the

FDCPA).

       73.     Defendant’s violations with respect to its collection efforts, include but are not

limited to, seeking payment of an amount in excess of what Defendant was allowed to collect, in

violation of 15 U.S.C. § 1692f(1), as well as 15 U.S.C. § 1692e(2)(prohibiting false, misleading,

and/or deceptive statements concerning “the character, amount, or legal status of any debt”) and

15 U.S.C. § 1692e(10)(prohibiting “false representation or deceptive means to collect or attempt

to collect any debt”).




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       74.     As a result of Defendant’s violations of the FDCPA, Plaintiff and the proposed

Class has suffered damages in an amount to be determined at trial.

                                   V.     CLAIM FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays for:

               (a)     Designation of this action as a class action pursuant to Fed. R. Civ. P. 23;

               (b)     Designation of Plaintiff as representative of the Class;

               (c)     Designation of Plaintiff’s counsel as class counsel for the Class;

               (d)     A Declaration that Defendant has violated the applicable provisions of the

FDCPA;

               (e)     An Order enjoining Defendant from any further violations of the

FDCPA;

               (f)     Actual damages;

               (g)     Statutory damages;

               (h)     Attorneys’ fees and costs; and

               (i)     Such other relief as the Honorable Court shall deem just and appropriate.

                             VI.        DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury as to all issues so triable.




                            (SIGNATURE ON THE NEXT PAGE)




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Date: May 22, 2018                     Respectfully submitted,
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                                       Counsel for Plaintiff(s) and the Proposed Class




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EXHIBIT “A”
                           Case 2:18-cv-02206-GEKP Document 1 Filed 05/25/18 Page 19 of 19
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          001934




                                                    THIS BILL IS FOR THE PHYSICIAN, NOT THE HOSPITAL..

    ·You have been notified previously that the above referenced account has not been paid.

    ·To avoid additional collection efforts, you must pay the above balance.

    · Make payment to AmeriFinancial Solutions, LLC using check or credit card upon receipt of this notice.

    ·Call 800-945-7184 if you are unable to pay the balance in full, would like to speak to an Account Representative or
     would like to make a payment over the phone using our free Pay by Phone system 24 hours a day 7 days a week.

    · This client has. authorized AmeriFinancial Solutions, LLC to report accounts to a national credit reporting agency.

    , To pay online: www.PayAFS.com


    This is an attempt to collect a debt by a debt collector and any information obtained will be used for that purpose.




                                                      SEE REVERSE SIDE FOR IMPORTANT INFORMATION

Payment Instructions:                                       Return this portion with your payment.
 'it      By Phone at 800-945-7184                                                               Representatives Available to Answer Calls: 800-945-7184
 .JfJ    Online at www.PayAFS.com                                                                 Monday-Thursday 8am - 6pm, Friday 8am - 4:30pm EST


                                                                                                         Write your Account# and Phone # on your check.
        IF PAYING BY CREDIT CARD, PLEASE FILL OUT BELOW
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